Case 1:07-cV-02512-PWG Document 3 Filed 09/20/07 Page 1 of 6

IN THE UNIlrED sTATEs DISTRICT coURT
FoR THE DISTRICT oF MARYLAND

Lois Farias

Plaintiff($) §

vs. s U M M 0 N s
U .t d St t f Am , CIVIL ACTION NO. £ ,
nl e a es o erlca §z’§‘: §':§ 17 §§ 25 1 2
Serve on: D€f€ndant($§) , '

Rod J. RoSenStein

TO THE ABOVE NAMED DEFENDANT:

You are hereby summoned and required to serve upon Plaintiff’ s Attorney, whose

address is:

Salsbury, Clements, Bekman, Marder & Adkins, LLC

300 West Pratt Street, Suite 450

Baltimore, Maryland 21201
an answer to the complaint which is herewith served upon you, within 00 [to
Answer the Complaint] days after service of this summons upon you, exclusive of the

date of service. If you fail to do so, judgment by default will be taken against you for the

relief demanded in the complaint
PehciaC.Cwm

Sincerely,

% / -
By:

Deputy Clerk ( m

DATE; ?l} (4/0,7

U.S. District Court (1/03)

NOTICE - This case is subject to electronic filing.
Information on electronic filing procedures and how to
register to use the electronic filing system can be found

at; Www.mdd.uscourts.gov

Case 1:07-cV-02512-PWG Document 3 Filed 09/20/07 Page 2 of 6

IN THE UNITED STATES DISTRICT COURT
F()R THE DISTRICT ()F MARYLAND

Lois Farias

Plaintiff(s)
VS. S U M M 0 N S
IVIL A T . 5a *"
United States of America C C ION NO h§§ ::;":§ §§ ‘? cv 25 1 2
Serve on: D€f€l'l(lant($

 

Rod J. Rosenstein

TO THE ABOVE NAMED DEFENDANT:
You are hereby summoned and required to serve upon Plaintist Attorney, Whose
address is:
Salsbury, Clements, Bekman, Marder & Adkins, LLC
300 West Pratt Street, Suite 450
Baltimore, Maryland 21201
an answer to the complaint which is herewith served upon you, within 60 [to
Answer the Complaint] days after service of this summons upon you, exclusive of the

date of service lf you fail to do so, judgment by default will be taken against you for the

relief demanded in the complaint.

P¥§i<§i§ §§ §M§B

 

 

Sincerely,
By: %
Deputy Clerk
DATE: 7/91&// 7 NOT{CE_ This case is Sllbject to electronic filing.
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U`S` Dismc§ Com …03) register to use the electronic filing SyS'f€m Can be found

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Case 1:07-CV-02512-PWG Document 3 Filed 09/20/07 Page 3 of 6

IN THE UNI'[[`ED STATES DISTRICT COURT
FOR THE DISTRICT OF MARYLAND

Lois Farias

Plaintiff(s)
VS. S U M M 0 N S
United States of America CIVIL ACTION NO. '
1
Serve on: Defendant(S) R“B 0 7 Cv 2 5 2

Peter D. Keisler

TO THE ABOVE NAMED DEFENDANT:

You are hereby summoned and required to serve upon Plaintiff’ s Attorney, whose

address is:

Salsbury, Clements, Bekman, Marder &Adkins, LLC

300 West Pratt Street, Suite 450

Baltimore, Maryland 21201
an answer to the complaint which is herewith served upon you, within 0 y [to
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Pc§ic:ia. C' Cmmg
Sincerely,

By_ A/( y
Deputy Clerk /

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at: Www.mdd.uscourts.gov

Case 1:07-cV-02512-PWG Document 3 Filed 09/20/07 Page 4 of 6

IN THE UNI'l[`ED STATES DISTRICT COURT
FOR THE DISTRICT OF l\lARYLAND

Lois Farias

 

Plaintiff(s)
vs. S U M M O N S
United StateS of America CIVIL ACTION NO.
Defendam($ RBBG70V2513

Peter D. Keisler

TO THE ABOVE NAMED DEFENIDANT:
You are hereby summoned and required to serve upon Plaintiffs Attorney, whose

address is:

Salsbury, Clements, Bekman, Marder & Adkins, LLC
300 West Pratt S'treet, Suite 450
Baltimore, Maryland 21201

an answer to the complaint which is herewith served upon you, within 00 [to
Answer the Complaint] days after service of this summons upon you, exclusive of the
date of service. If you fail to do so, judgment by default will be taken against you for the

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Sincerely,

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at: Www.mdd.uscourts.gov

 

Case 1:07-cV-02512-PWG Document 3 Filed 09/20/07 Page 5 of 6

IN THE UNI']I`ED STATES DISTRICT COURT
FOR THE DISTRICT OF MARYLAND

Lois Farias
Plaintiff(s)
vs. S U M M 0 N S

United States of America CIVILACTION NO_

Serve on: Defendant($ RBB 3 7 Cv 2 51 2

Andrew von Eschenbach, M. D.

 

TO THE ABOVE NAMED DEFENDANT:

You are hereby summoned and required to serve upon Plaintiff’s Attorney, whose
address is:
Salsb` ry, Clements, Bekman, Marder & Adkins, LLC
300 est Pratt Street, Suite 450
Baltimore, Maryland 21201
an answer to the complaint which is herewith served upon you, within 6 J [to

Answer the Complaint] days after service of this summons upon you, exclusive of the

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Sincerely,
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By: M
Deputy Clerk /

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Case 1:07-cV-02512-PWG Document 3 Filed 09/20/07 Page 6 of 6

IN THE UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF MARYLAND

 

LoiS Farias

Plaintiff(s)

vs. SUMMONS

CIVIL ACTION NO.

Defendant(s) “BB §§ ? {:;\§ 2 5 1 2

Darcy Hanes

TO THE ABOVE NAMED DEFENDANT:
You are hereby summoned and required to serve upon Plaintiff’s Attorney, whose

address is:

Salsbury, Clements, Bekman, Marder & Adkins, LLC

300 West Pratt Street, Suite 450

Baltirhore, Maryland 21201
an answer to the complaint which is herewith served upon you, within 6 d [to
Answer the Complaint] days after service of this summons upon you, exclusive of the
date of service. If you fail to do s`o, judgment by default will be taken against you for the

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Sincerely,
By. /:>7/¢§§§7 // l y
Deputy Clerk
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